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                      IN THE U.S. DISTRICT COURT OF MARYLAND
                             FOR DISTRICT OF MARYLAND

Jeffrey B. Mould, et al.                       *

        Plaintiffs                             *

v.                                             *               Case No. 13-cv-1305 (JKB)

NJG Food Service, Inc., et al.                 *

      Defendants                    *
____________________________________/

                     DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

        Defendant NJG Food Service, Inc. file this Motion for a Protective Order for the reasons

set forth herein:

I.      Standard of Review

        Federal Rule of Civil Procedure 26(c) (“Rule 26(c)”) provides that, upon a showing of

good cause, “the court in the district where [a] deposition is to be taken may make any order

which justice requires to protect a party or person from annoyance, embarrassment, oppression,

or undue burden or expense[.]”

        In order to establish good cause, a proponent may not rely upon conclusory statements

but must present a particular and specific demonstration of fact as to why a protective order

should issue. Baron Financial Corp. v. Natanzon, 240 F.R.D. 200, 202 (D. Md. 2006).

        Federal Rule of Civil Procedure 30(b)(6) explicitly requires a corporation to have persons

testify on its behalf as to all matters known or reasonably available to it, and therefore, there is an

implicit requirement that such persons review all matters known or reasonably available, in order

to prepare for the Rule 30(b)(6) deposition. Paul Revere Life Ins. Co. v. Jafari, 206 F.R.D. 126,

127-28 (D. Md. 2002) (Bredar, J.). Sanctions may issue for an unprepared witness. See id.
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       However, the corporate deponent is not the only party with obligations pursuant to Rule

30(b)(6). See Murphy v. Kmart Corp., 255 F.R.D. 497, 504 (D. S.D. 2009). The plain language

of Rule 30(b)(6) clearly states that the party requesting the deposition must describe with

“reasonable specificity” the topics to be discussed. See id. at 505. “ ‘[T]o allow the Rule to

effectively function, the requesting party must take care to designate, with painstaking

specificity, the particular subject areas that are intended to be questioned, and that are relevant to

the issues in dispute.’ ” Id. (quoting Prokosch v. Catalina Lighting, Inc., 193 F.R.D. 633, 638

(D. Minn. 2000)). The burden is on the party requesting the deposition to satisfy the “reasonable

particularity” standard of Rule 30(b)(6). Id. An overbroad 30(b)(6) notice subjects the noticed

party to an impossible task, because in order to avoid liability for presenting an unprepared

witness, Paul Revere Life Ins. Co., supra, the noticed party must designate persons

knowledgeable in each of the topics. Reed v. Bennett, 193 F.R.D. 689, 692 (D. Kan. 2000).

However, where a noticed party cannot identify the outer limits of the areas of inquiry, compliant

designation is not feasible. Id.

       Motions for protective orders may object to the timing and/or extent of the 30(b)(6)

depositions. Wilson v. Lakner, 228 F.R.D. 524, 530 (D. Md. 2005).

II.    Argument

       This is a case arising under Federal Fair Labor Standards Act, 29 U.S.C. § 216(b) against

a relatively small restaurant in Ocean City, Maryland.          The Plaintiff, a restaurant server,

complains that he was forced to participate in an illegal tip pool operation, and as a result, he is

owed additional minimum wage payments as well as recalculated overtime amounts. Plaintiff

has also made clear that he intends to seek damages for what he claims was a retaliatory

discharge.




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       As part of his aggressive prosecution of this case, Plaintiff served on Defendant NJG

Food Service, Inc. (the “Company”) a corporate designee deposition notice, seeking the

Company’s testimony concerning forty-three (43) topics. (Exh. 1).

       Leaving aside the sheer number of topics, the Company contends that at least 14 of these

topics are not reasonably specific (Exh 2), or are irrelevant to Plaintiff’s individual FLSA claims,

or are overly burdensome, and objects to the following topics:

       Topic 2: “The facts upon which you rely in denying each and any of the allegations of

the Complaint in and asserting your defenses.”

       Defendant’s Argument: This topic is not reasonably specific (especially depending

upon how the questions are framed during the course of the deposition). This topic conceivably

covers everything and anything having to do with Plaintiff’s lawsuit (and proposed amendment).

       Topic 6: “Testimony related to and specific to entries on any financial information

requested in Plaintiff’s Request for Production of Documents, including without limitation, your

general ledger reflecting debits and credits, financial statements, and/or balance sheets prepared

by or for you, and your federal, state, and any local tax returns (including all attachments and

schedules).” (italics added)

       Defendant’s Argument:         This topic is neither reasonably specific, as it designates

practically every conceivable financial document involving Defendant’s operations, nor relevant.

For example, the Plaintiff need not prove, in any part of his case, what the debits and credits

were of Defendants’ general ledger. Because there is no need for it, preparing for this topic

would necessarily be unnecessarily burdensome. Defendant would be required to designate

someone who is prepared to testify as to all aspects of their finances, including their taxes.




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         Topic 8: “All communications between you and any third-party, including employees,

regarding Plaintiff following the filing of this lawsuit on May 1, 2013.”

         Defendant’s Argument:        This topic is not reasonably specific.     Communications

regarding the Plaintiff involving what? Defendant cannot possibly prepare a designee(s) to

testify as to every possible conversation concerning scheduling, work assignments, and the like.

         Topic 11: “Testimony regarding tips paid and/or owed to Plaintiff.”

         Defendant’s Argument: This topic is not reasonably specific. What exactly about tips

does Plaintiff seek? Defendant did not pay any tips to Plaintiff and certainly does not owe any

tips to Plaintiff. Is Plaintiff looking for a history of the tips that he has received per date? Is

Plaintiff looking for Defendant’s record of the total amount in a week? Month? Year?

         Topic 22: “Testimony pertaining to any position you have taken or intend to take in this

case.”

         Defendant’s Argument: This topic is not reasonably specific. While a witness may be

prepared to testify that Plaintiff was fired for sexual harassment (allegations of which Plaintiff

refused to personally defend himself), this topic requires a corporate designee(s) to forecast what

positions that the corporation may take as to evidence that may later become available or to pure

legal issues.

         Topic 24: “Testimony pertaining to any and all documents referring or relating to, or

constituting, reports or reflections of time worked by employees, tips paid by or withheld from

employees, receipt of tip income, directly or indirectly, by anyone associated with NJG, and any

payroll reports from January 1, 2010 to the present.”

         Defendant’s Argument: This topic is not reasonably specific (the use of the term

“pertaining” greatly expands its scope) and it is also burdensome and designed to harass the




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Defendant.    First, this topic has nearly unlimited breadth.       It would conceivably require

Defendant to prepare a witness to testify not just as to the Plaintiff’s employment circumstances,

but as to each and every document involving tips and hours worked. Moreover, Plaintiff’s entire

“look back” period is to May 1, 2010, so it is overbroad on its face.

       Topic 26: “Testimony pertaining to the termination of any employee from January 1,

2010, to the present, including reason for termination, the management representatives involved

in the termination decision, the identity of the employee terminated, and the dates of each

terminated employee’s employment.”

       Defendant’s Argument: This topic is not reasonably specific, insofar as it would require

the Defendant to designate a witness(s) to testify as to literally all of the circumstances for each

and every termination of an employee dating back more than 3 years, even though those

terminations may have been voluntary, and have nothing to do at all with Plaintiff or

Defendant’s justification for terminating Plaintiff.     Moreover, this information is sensitive

personal information and generally maintained in a confidential manner.

       Topic 27:     “Testimony regarding the identity (i.e., full name, address, and contact

information) of every employee who worked for the Crab Bag but who no longer works for the

restaurant from January 1, 2010 to the present.”

       Defendant’s Argument: This topic is overly broad, and therefore burdensome, insofar

as Plaintiff only began working for Defendant in February 2011. Therefore, producing the

identities of persons who worked in 2010 is not relevant nor reasonably calculated to lead to any

admissible evidence in this individual FLSA claim.

       Topic 30: “Testimony pertaining to any back wages owed to Plaintiff as a result of a

failure to comply with the provisions of federal and/or state law pertaining to wages.”




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       Defendant’s Argument: This topic is not reasonably specific or particularized. Is the

Plaintiff looking for details of wages paid? Hour worked? On a weekly basis? Monthly basis?

Yearly basis?    Does the topic also require testimony as to Defendant’s compliance with

wage/hour law? The topic appears to assume the notion that Defendant is liable in this case.

       Topic 31: “Testimony pertaining to any back wages owed to any other employee as the

result of a failure to comply with the provisions of federal and/or state law pertaining to wages.”

       Defendant’s Argument: This topic is neither reasonably specific, see objection to topic

30, nor relevant. Plaintiff’s case is an individual FLSA action; it is not necessary for him to

prove what other employees are allegedly owed, in order to establish FLSA liability as to his

own claim.

       Topic 35: “Testimony relating specifically and in detail how tips were handled from

January 1, 2010 to the present, identifying [i] for each day the restaurant was open, [ii] each

person who received tips from customers, how much was received each day by each such

person, [iii] how much of what each person received each day in tips was contributed to the tip

pool, [iv] to whom tip pool contributions were distributed each day, and [v] how much from the

tip pool was received by each person each day.” (Italics and alterations added).

       Defendant’s Argument: This topic is unreasonably burdensome and not relevant nor

reasonably likely to lead admissible evidence in this case. Plaintiff’s case is an individual FLSA

action; it is not necessary for him to prove what other employees are allegedly owed, in order to

establish FLSA liability as to his own claim. Moreover, there are scores of employees who have

worked and are presenting working for Defendant (45 servers currently), and no designee(s) can

reasonably be expected to testify as to what every single one of these individuals received in a

period greater than 3 years. (Exh. 3; Graves Affidavit). Compliance with this topic alone could




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require extensive sorting, reviewing, and calculating of records not even relating to the Plaintiff

but to other tipped employees, and cost the Company nearly $270,000.00, in a wage case worth

approximately $35,000.00. (Exh. 3; Graves Affidavit). The discovery is irrelevant, and to the

extent that the Court perceives it having any marginal relevance, the burdens and costs vastly

outweigh Plaintiff’s need for this discovery in order to prove up his individual FLSA case.

       Topic 41: “All documents and/or things produced and/or offered for inspection by you.”

       Defendant’s Argument: On its face, this topic is not reasonably specific. The topic

provides no information as to what a witness would need to testify about/concerning these

documents. The Defendants have produced hundreds of pages of documents already; what

exactly about these documents must Defendant be prepared to testify concerning?

       Topic 42: “Your claims and defenses in this matter.”

       Defendant’s Argument: On its face, this topic is not reasonably specific. To allow this

sort of topic would be to completely eliminate from Rule 30(b)(6) the reasonable specificity

requirement. The topic provides no information as to what a witness would need to testify

about/concerning all of the claims and defenses asserted in this case.

       Topic 43: “Your Answer to the Complaint and any amendments thereto.”

       Defendant’s Argument: On its face, this topic is not reasonably specific. This topic

could conceivably cover practically anything having to do with this case whatsoever. If this sort

of topic was allowed under Rule 30(b)(6), a party would only need to note one topic. This topic,

along with topics 41 and 42, are essentially “catch-all” topics which are not generally permitted.

Reed v. Bennett, 193 F.R.D. 689, 692 (D. Kan. 2000) (finding not reasonably specific topics that

state “include but not limited to”). The topic provides no information as to what a witness would

need to testify about/concerning the Answer to the Complaint “any amendments thereto.”




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III.     Conclusion

         Defendant has now, on multiple occasions, attempted to work these matters out with

Plaintiff, but to no avail. (Exh. 4; Certificate of Counsel). As to each of the above-listed topics,

Defendant has demonstrated good cause for a Protective Order, and has demonstrated burden in

a specific manner.

         In multiple communications, Plaintiff has refused to revise, much less withdraw, a single

topic.   Defendant requests that the Court grant a Protective Order as to the above-referenced

topics, with an order awarding its fees and costs in presenting this Motion.

                                      Respectfully submitted,



                                      /s/ Howard B. Hoffman
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 21st of August, 2013, a copy of the foregoing Defendants’

Motion for Protective Order, along with all Exhibits and other attachments, was filed via the

Electronic Case Filing System (ECF) maintained by the U.S. District Court for the District of

Maryland, and is available for viewing and downloading from the ECF system.




                                      /s/ Howard B. Hoffman
                                      Howard B. Hoffman, Esq.




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